39 F.3d 1177
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark L. MORTON, Petitioner Appellant,v.Edward W. MURRAY, Defendant Appellee.
    No. 94-6704.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  September 26, 1994Decided:  October 27, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CA-94-392-AM)
      Mark L. Morton, Appellant Pro Se.
      Thomas Cauthorne Daniel, Assistant Attorney General, Richmond, Virginia, for Appellee.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and WILKINSON and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Morton v. Murray, No. CA-94-392-AM (E.D. Va.  May 24, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    